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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 UNITED STATES OF AMERICA                                                                     Plaintiff

 v.                                                             Criminal Action No. 3:20-cr-9-RGJ

 ROBERT BONDONNO, ET AL.                                                                  Defendants

                                              * * * * *

                          MEMORANDUM OPINION AND ORDER

        In advance of trial, scheduled for December 6, 2021, the United States notices its intent to

admit Fed. R. Evid. 404(b) evidence [DE 64] and moves in limine to admit evidence of other

crimes, wrongs or acts against Defendants Robert Bondonno (“Bondonno”), Courtland Van Oden

(“Van Oden”), Bearkes J. Ainsworth Jr. (“Ainsworth”), and Gregory W. Dawkins (“Dawkins”)

(collectively, “Defendants”) [DE 65]. Defendants do not dispute proper notice. Defendants Van

Oden [DE 68] and Bondonno [DE 69] responded. This matter is ripe for adjudication. For the

reasons below, the United States’ Motion in Limine [DE 65] is GRANTED.

                               I. MOTION IN LIMINE STANDARD

        Federal district courts have the power to exclude irrelevant, inadmissible, or prejudicial

evidence in limine pursuant to their inherent authority to manage trials. Luce v. United States, 469

U.S. 38, 41 n.4 (1984) (citing Fed. R. Evid. 103(c)); Louzon v. Ford Motor Co., 718 F.3d 556, 561

(6th Cir. 2013). That said, the “better practice” is to defer evidentiary rulings until trial unless the

evidence is clearly inadmissible on all potential grounds. Sperberg v. Goodyear Tire & Rubber

Co., 519 F.2d 708, 712 (6th Cir. 1975); Bouchard v. Am. Home Prods. Corp., 213 F. Supp. 2d 802,

810 (N.D. Ohio 2002) (citing Luce, 469 U.S. at 41 n. 4). Courts favor this posture so “questions

of foundation, relevancy and potential prejudice may be resolved in proper context.” Gresh v.
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Waste Servs. of Am., Inc., 738 F.Supp.2d 702, 706 (E.D. Ky. 2010) (citing Indiana Ins. Co. V. Gen.

Elec. Co., 326 F.Supp. 2d 844, 846 (N.D. Ohio 2004). When this Court issues a ruling in limine,

it is “no more than a preliminary, or advisory, opinion.” United States v. Yannott, 42 F.3d 999,

1007 (6th Cir. 1994) (citing Luce, 713 F.2d 1236, 1239 (6th Cir. 1983), aff’d, 469 U.S. 38 (1984)).

Thus, “the district judge is free, in the exercise of sound judicial discretion, to alter a previous in

limine ruling.” Luce, 469 U.S. at 41–42.

                                          II. DISCUSSION

       A.    Background

       Defendants are indicted on thirty-seven counts of wire fraud, mail fraud, money laundering

and conspiracy to commit money laundering. The United States alleges that Defendants pitched

fraudulent investment schemes and solicited funds from victims for two nominee companies,

Wichita Project, LLC and BHD International Inc. The United States further alleges that victims

received no return on their investment and instead the funds were used to pay Defendants’ living

and lifestyle expenses. [DE 21].

       The United States moves in limine to admit evidence of Defendants’ failure to report

income on their personal tax returns and Bondonno’s failure to issue W-2 or 1099 forms through

corporate entities as evidence of an intent to defraud. [DE 65]. The United States argues that the

unreported taxable income was the fruit of the Defendant’s fraudulent scheme. [DE 65-1 at 248].

Under Fed. R. Evid 404(b)(2), the United States seeks to introduce: (1) Ainsworth’s failure to file

tax returns for 2016, 2017 and 2018; (2) Ainsworth’s failure to accurately report his income on his

2019 tax return, including the omission of $40,000 received from BHD International, Inc. and

Wichita Project, LLC; (3) Van Oden’s failure to file tax returns for 2016, 2017 and 2018; (4)

Bondonno’s failure to file tax returns for 2017 and 2019; (5) Bondonno’s failure to accurately



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report his income on his 2018 tax return, including $100,000 of underreported income from

investment proceeds; and (6) Bondonno’s, BHD International, Inc.’s, and Wichita Project, LLC’s

failure to issue W-2’s, 1099’s or other required documents for payments made to Ainsworth and

Van Oden. [Id. at 247-248].

       B.    Standard for Admission of Evidence of Other Crimes, Wrongs, or Acts Under
             Fed. R. Evid. 404(b).

       Rule 404 provides that “[e]vidence of a person’s character or character trait is not

admissible to prove that on a particular occasion the person acted in accordance with the character

or trait.” Fed. R. Evid. 404(a)(1). Similarly, “[e]vidence of any other crime, wrong, or act is not

admissible to prove a person’s character in order to show that on a particular occasion the person

acted in accordance with the character.” Fed. R. Evid. 404(b)(1). However, this evidence may be

admissible for other purposes, “such as proving motive, opportunity, intent, preparation, plan,

knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2).

       To determine the admissibility of evidence under Rule 404(b), the Court uses a three-step

analysis. United States v. Lattner, 385 F.3d 947, 955 (6th Cir. 2004). First, the Court must make

a preliminary determination regarding whether there is sufficient evidence that the “other acts”

took place. Id. Second, the Court must determine whether the “other acts” evidence is admissible

for a proper purpose under Rule 404(b). Id. Finally, the Court must determine whether the “other

acts” evidence is more prejudicial than probative. Id.

       With regard to the second step, to determine whether evidence is admissible for a proper

purpose, the Court must find that (1) the purpose of admitting prior acts is one that is allowed

under Rule 404(b), (2) the purpose for which the evidence is offered is material or “in issue,” and

(3) the evidence is probative of the purpose for which it is offered. United States v. Bell, 516 F.3d

432, 442 (6th Cir. 2008); United States v. Jenkins, 345 F.3d 928, 937 (6th Cir. 2003).

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       Once the Court decides that evidence of other crimes, wrongs, or acts of a defendant is

admissible under Rule 404(b), then the Court “must carefully identify in its instructions to the jury,

the specific factor named in the rule that is relied upon to justify admission of the other acts

evidence, explain why that factor is material, and warn the jurors against using the evidence to

draw the inferences expressly forbidden by Rule 404(b).” Bell, 516 F.3d 441 (quoting United

States v. Johnson, 27 F.3d 1186, 1194 (6th Cir. 1994)).

       C.    Analysis

       1.      Sufficient Evidence of Other Acts

       First, the Court determines whether there is sufficient evidence the other acts took place.

Defendants are charged with wire fraud, mail fraud, money laundering and conspiracy to commit

money laundering. The United States offers evidence of prior acts related to Defendants’ income

tax returns to demonstrate intent to defraud however the United States has not tendered the tax

returns or the corresponding bank records for the Court’s consideration. [DE 65 at 245].

       For the evidence to be relevant, at trial, the United States must establish that a jury can

reasonably conclude that the other acts occurred and that Defendants were the actors. Lattner, 385

F.3d at 955. “The Supreme Court has held that the United States is not required to demonstrate

that the other acts occurred by a preponderance of the evidence. However, the government cannot

introduce evidence of potentially prejudicial similar acts without any substantiation.” Bell, 516

F.3d at 441 (citing Huddleston v. United States, 485 U.S. 681, 689 (1988)). The United States

argues Defendants’ tax filings, and bank records showing the income Defendants received from

their allegedly fraudulent activities, create sufficient evidence of Defendants’ failure to report

income on their tax returns. [DE 65-1 at 249].




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        While the United States has not produced the tax records at issue, Defendants do not appear

to contest that they failed to report or under report certain taxable income, thus the first step of the

analysis supports admission. Though Defendants do not argue that they properly reported income

on their tax returns, Defense counsel will have the opportunity at trial to cross-examine witnesses

and provide their own evidence on whether Defendants were required to file tax returns, report

income, or distribute certain tax forms.

        2.      Proper Purpose Under Fed. R. Evid. 404(b)(2)

        Next, the Court determines whether the other acts evidence is admissible for a proper

purpose under Rule 404(b) pursuant to the three factors set forth in Bell. As to the second step of

the analysis, the United States asserts that intent is a specifically enumerated permissible purpose

for admitting prior acts evidence under Rule 404(b)(2). The United States argues that it will have

to prove Defendants’ intent as an element of both wire and mail fraud. [DE 65-1 at 249].           As a

result, intent is “in issue” in the case as the failure to properly report taxable income is material to

and probative of the elements of two of the offenses charged See 18 U.S.C. §1343; 18 U.S.C.

§1341. Defendants’ misrepresentation of their income is substantially similar and reasonably near

in time to the offenses charged and further demonstrates an intent to misrepresent and conceal

information about Defendants’ financial misconduct. [DE 65-1 at 250]. The United States argues

that a reasonable jury could find the tax return omissions representative of Defendants’ ongoing

efforts to obscure their financial activity from scrutiny to perpetuate their scheme. [Id. at 250].

The United States also asserts and that this financial concealment is evidence of specific intent

because by hiding the fruits of the scheme, Defendants demonstrate knowledge of the illegality of

their financial activities. [Id. at 250].




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       First, the Court looks at whether the purpose of admitting prior acts is allowed under Rule

404(b)(2). Using evidence of other acts to prove intent is a specifically enumerated permissible

purpose under Rule 404(b)(2). Bell, 516 F.3d at 442. Second, the Court looks at whether the

purpose of introducing the other acts is material or at issue. As the United States must prove that

Defendants possessed specific intent to deceive or defraud as an element of the crimes charged,

intent is clearly “at issue,” and the determination of fraudulent intent is reserved for the trier of

fact. United States v. Brown, 147 F.3d 477, 483 (6th Cir. 1998); 18 U.S.C. § 1343; 18 U.S.C. §

1341. By pleading not guilty to the offenses, the Defendants have put their general intent and

specific intent at issue, thereby giving the government the burden to establish both beyond a

reasonable doubt. Bell, 516 F.3d at 443; United States v. Myers, 123 F.3d 350, 363 (6th Cir. 1997).

       Third, the Court looks at whether the evidence is probative of the purpose for which it is

offered. The other acts evidence proposed is probative of intent because it relates to conduct that

is “substantially similar and reasonably near in time” to the specific intent offense at issue. Bell,

516 F.3d at 443. Bondonno asserts that the other acts evidence is not substantially similar because

a compilation of additional alleged financial improprieties cannot be tied to the charged conduct.

[DE 69 at 267]. However, the United States asserts that “the income which the defendants’ failed

to report on their tax returns was the fruit of the fraudulent scheme for which they have been

charged,” and thus is substantially related. [DE 65-1 at 248]. The conduct is reasonably near in

time because the wire fraud is alleged to have occurred from January 2016 to July 2019, and the

other acts evidence the government seeks to introduce is from 2016 through 2019. Though the

Defendants’ 2019 tax returns may not have been filed during the timeframe of the fraudulent

scheme, “there is no absolute maximum number of years that may separate a prior act and the




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offense charged.” Id. (citing United States v. Ismail, 756 F.2d 1253, 1260 (6th Cir. 1985). Further,

the income to be listed on the 2019 tax return would relate to the timeframe of the alleged fraud.

         Bondonno also argues the evidence is not probative of the purpose for which it is offered.

[DE 69 at 265]. Bondonno contends that the fact that a jury could infer Bondonno’s tax

misrepresentations as evidence of specific intent is highly speculative. [Id. at 266]. Bondonno

argues that there is no supporting evidence that Bondonno’s decision not to file taxes or how much

income to declare has anything to do with the alleged wrongdoing. [Id.] Similarly, Van Oden

contends that the failure to pay taxes and the intent to commit the alleged crimes are so unrelated

that introduction of other acts evidence would have no probative value or relevance, and could not

be anything other than inadmissible character evidence. [DE 68 at 261.] Van Oden argues that

failure to pay taxes is not an indicator of intent to commit mail fraud, wire fraud and money

laundering because there are many possible reasons for not reporting income unrelated to an intent

to commit the charged crimes. [DE 68 at 261]. Van Oden also argues that the government is

seeking to use evidence of prior acts to replace its the obligation to prove intent. [Id. at 262]. Yet

Courts have routinely found that the failure to file tax returns is relevant and admissible when used

against defendants accused of participating in a money laundering conspiracy. United States v.

Mitchell, 613 F.3d 862, 866 (8th Cir. 2010) (citing United States v. Mangual–Santiago, 562 F.3d

411, 429 (1st Cir.), cert. denied, 558 U.S. 912 (2009)); see also United States v. Hathaway, 798

F.2d 902, 909 (6th Cir. 2012) (evidence that showed defendant was using investment company

funds for personal expenses, rather than paying client accounts, was relevant to the “scheme to

defraud” element of mail fraud). As a result, under the three factors set forth in Bell, the other

acts evidence is admissible for a proper purpose under Rule 404(b).




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        3.     Prejudice Analysis Under Fed. R. Evid. 403

         As to the final step of the analysis, the United States argues that the acts are not more

prejudicial than probative because evidence of tax misconduct is unlikely to inflame the emotions

of a jury and or otherwise lead the jury to decide the case on improper grounds.         [DE 65-1 at

250].   Van Oden argues that the other acts evidence proposed is propensity evidence and its

prejudicial effect outweighs its probative value because a jury might explicitly or subconsciously

apply a lower standard of proof if they think the defendant is a bad person. [DE 68 at 262].

Bondonno asserts that the proposed evidence is more prejudicial than probative because it could

mislead the jury. [DE 69 at 268]. Bondonno asserts that the United States is making three distinct

claims of wrongdoing related to Bondonno’s tax returns in its motion in limine: (1) that he failed

to file an income tax return; (2) that he underreported income; and (3) that he failed to issue proper

tax documents with regard to BHD International Inc. and Witchita Project LLC. [Id. at 267].

Bondonno argues that this is uncharged independent conduct, unrelated to the pending counts, and

each allegation necessitates an individualized response, defense, and witness at trial to explain

Bondonno’s tax preparation. [Id.] Bondonno argues that the United States is attempting to

introduce the type of evidence that Fed. R. Evid. 404(b) is specifically designed to prohibit because

it paints Defendant as the type of person who engages in financial misconduct in both his personal

life and business administration. [Id. at 268].

        The Court finds the other acts evidence proposed by the United States is not more

prejudicial than probative under Rule 403. “The term ‘unfair prejudice’ speaks to the capacity of

some concededly relevant evidence to lure the factfinder into declaring guilt on a ground difference

from proof specific to the offense charged.” Old Chief v. United States, 519 U.S. 172, 180 (1997).

In United States v. Kuiken, 198 Fed.Appx. 643, 647 (9th Cir. 2006), the Court held the probative



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value of evidence that Defendants either did not file tax returns for the relevant years or that their

returns did not adequately reflect their income is not outweighed by the danger of unfair prejudice

in a prosecution for wire fraud, mail fraud, and money laundering. The Court reasoned that

evidence of improper tax returns is highly relevant to the characterization of the funds allegedly

received as part of the underlying fraudulent schemes.

         Additionally, the other acts evidence would have an undue tendency to suggest a jury

decision on an improper basis such as emotion or propensity. Though Bondonno makes arguments

regarding jury confusion, tax returns are common documents which are not too complex or

voluminous for a jury to understand. See United States v. Pollack, 417 F.2d 240, 241 (5th Cir.

1969) (finding evidence of corporate minute books relating to periods several years before the acts

charged was not too complex and voluminous to lead to jury confusion).                As there are no

alternative sources of proving intent of the alleged charges and this factor must be considered when

weighing the probative value of the other acts evidence.1 Bell, 516 F.3d at 445.

         As each step of the analysis set forth in United States v. Lattner supports admissibility, the

United States motion in limine [DE 65] is GRANTED. Accordingly, the Court orders the United

States to tender an instruction in proposed jury instructions limiting the consideration of the other

act evidence only as it bears on Defendants’ intent. Bell, 516 F.3d 441.

                                        III. CONCLUSION

         Having considered the filings and applicable law, and being otherwise sufficiently advised,

the Court ORDERS that:

         (1) The United States’ Motion in Limine [DE 65] is GRANTED.




1 The United States also filed a motion in limine to admit two recorded phone conversations [DE 71]. But
that motion is not ripe yet as the Defendants’ have not responded and the time do so has not passed.

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      (2) The United States shall tender an appropriate limiting instruction for the evidence at

           issue in this motion with its proposed jury instructions.
   October 25, 2021




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